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TNW Whitley, Matthew Christopher

 

 

 

 

 

 

 

 

3. MAG. nKT./DEF. NUMBER 4. DisT. DKT.mEF. NHMBER 5. AFPEALS DKT.n)EF. NUMBER 6. oTHER DKT. NUMBER
1:04-0100 131-002 ,
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|\S f 03|.5
U.S. v. Whltl cy Felony Adult Defendant Supervised Release

 

ll. OFFENSE(S) CH ARGED (Ciie U.S. Code, Tlt|e & Sectinn) ff more than one ol'rense, llst(up tofive) major offenses charged,accordlng m severity of offense.

1) 21 841A=CD. F -- CONTROLLED SUBS'I`ANCE - SELL, DISTRIBU TE, OR DISPENSE

 

12. ATTORNEY'S NAME §Firstl‘\'ame,M.I.,LastName,includinganyauffix) 13. COURT ORDER
ANDMAIL[NG ADDRE S _ § 0 lAppointing(lounael g C Co-Coun_sel
Finney Lowe [:l F SubsForFederalDel'ender 5 R Suhs ForRetained Attorney
213 E Lafa ette Ci r sanm-Paiiemunmey ij Y standbycauns¢i
Jackso'n T 38301 PriurAttorney’sName:

 

Appoinimel\t Date:

[] Because the above~named person represented has testified under oath or has
otherwise aa\isied this court that he or she (l) i.s Enaneially unable to employ ciamsel ind

Telephone Nnmher: i731 ) 424-215 1 (2) does not wish to waive eouliael, and because the interests ofjustice ao require, the

attorney whose name appears ln item 11 is appoints present this person lli this rase,
ld. NAME AND MAILING ADDRESS OF LAW F`[RM (ol\|y provlde per ins\rucdons] r

Hardee, Martinn Dauster and Donah cie PA 5 O“' *' ""§2 "’
213 E Lafayette Street g % /9`-{ d&f»/

Jackson TN 30301 Signature oal;;:)id$i:;%ga:)i;ia[ Oft‘lcer or By Order ol the Coutt

Date ofOrdu' _ Nlmc Pro Tooc Date
Rep‘syment or partial repayment ordered from the person represented for this s ervice at
lime of`appuinn-nent. l] Y`ES [] NO

 

 

 

 

 

 

 

  

 

  
 
 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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(Riite per hour =S ) TOTA.LS:
16. a. Inlerviews and Conferences
no b. Obfaining and reviewing records
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{ (Rate per hour = $ ) TOTALS:
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Other Ex enses (other than expert, transcripts, etc.)

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 
 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

I9. CERTIFICATION OF ATTORNEY:'PAYEE FOR TH'E PERIOD 0 F SERVICE IU. APPOINTMENT TERM]NAT|ON DATE 21. CASE DISPO SITION

 

 

 

FROM ,1.0 IF OTHER THAN CASE COMPLEI`ION
21. CLAIM STATUS ij FinalPaymen| ij Int¢rim Payment Numher __ l:] SupplemenulPayment
Have you previously applied to the court fir compensation and/or remlmhursement for this raae? l:i YES i:l NO lfyee, were you paid? m YES i:l NO
Other than from the cour\. have you, or toyour knowledge has anyone el.s e, received payment {compenaalion or anything or value) from any other aollrr¢ in connection with this
repruentation? [j YES l:] NO I|`ye.a, give details on additionalsheeta.

[ swear or affirm the truth or correctness nfthe above statements.

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13. N C`OURT COMP. 14. OUT OF COURT COMP. 25. TRAVEL EXPENSES 26, OTHER EXPENSES 27. TOTAL AMT. APPRI CERT
lB. SIGNATURE OF THE PRESIDING JU'DICIA.L OFFICER `DATE 18a. JU'DGE.'MAG. JUDGE CGDE
29. iN COURT COMP. 30. OUT OF COURT COMP. 31. TRAVEL EXPENSES 32. OTHER EXPENSES 33. TOTAL AMT. APPROVED
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34. SIGNA'I`URE OF CHIEF .TUDGE, COURT OF APP EALS (OR DELEGATE} Payment DA'I'E 341 JU'DGE CODE
approved in excess arline statutory threshold amount

 

 

 

 

  
 

ENNESSEE

 
 

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Honorablc J ames Todd
US DISTRICT COURT

